     Case 5:12-cv-00276-GTS-DEP Document 79 Filed 04/24/15 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

K. FELICIA DAVIS,

                               Plaintiff,               Civil Action No.: 5:12-CV-00276
                                                                          (GTS/DEP)
      V.

CITY OF SYRACUSE AND STEPHANIE A.                       STIPULATION OF DISMISSAL
MINER,

                               Defendants.


      IT IS HEREBY STIPULATED AND AGREED, by and between Pro Se Plaintiff,

F. Felicia Davis, and Defendants, City of Syracuse and Stephanie A. Miner, through

their undersigned attorneys, to the voluntary dismissal of the above-captioned action,

with prejudice, and without costs, attorneys’ fees, expenses or disbursements to any

party as against the other. The parties further hereby stipulate and agree that no party

hereto is an infant or incompetent person for whom a committee has been appointed.

Dated: April 23, 2015
                                             BOND, SCHOENECK & KING, PLLC

/s/ K. Felicia Davis                         /s/ Laura H. Harshbarger
K. Felicia Davis                             Laura H. Harshbarger, Esq.
Pro Se Plaintiff                             (Bar Roll No. 509779)
414 Brookford Road                           Attorneys for Defendants
Syracuse, New York 132214                    One Lincoln Center
Telephone: (315) 383-6388                    Syracuse, New York 13202-1355
Email: felicia.davis268@yahoo.com            Telephone: (315) 218-8314
                                             E-mail: lharshbarger@bsk.com

SO ORDERED:



Hon. Glenn T. Suddaby
United States District Judge
     Case 5:12-cv-00276-GTS-DEP Document 79 Filed 04/24/15 Page 2 of 2




                                  CERTIFICATE OF SERVICE


       I hereby certify that on April 24, 2015, a true and correct copy of a Stipulation of

Dismissal, with prejudice, was filed with the Clerk of the United States District Court for

the Northern District of New York using the CM/ECF system, which sent notification of

such filing to the following:

                                K. Felicia Davis, Pro Se
                                414 Brookford Road
                                Syracuse, New York 132214
                                Telephone: (315) 383-6388
                                Email: felicia.davis268@yahoo.com



                                                  /s/ Laura H. Harshbarger
                                                           Laura H. Harshbarger




                                              2
                                                                                     2318963.1
